                    Case 2:10-md-02179-CJB-DPC Document 4140-1 Filed 09/29/11 Page 1 of 1
CameronInternationalCorporation'sObjectionstoPSC'sListof300TialExhibits
                                                                                                                                              40085319
  Exhibit           Date              Description                                   Objection                                            Defendant

  TREXͲ01178                         AmendedResponsetoJune25,2010Subpoena    Hearsay                                              Transocean
                                                                                                                                         Sep 28 2011
                                                                                                                                           7:58PM
                                      O’DonnellforwardingemailbetweenRobert
                                      Quitzau,DerekFolger,PaulChandler,John
  TREXͲ01920                4/5/2010 KammandMikePfister                         Wrongdocumentascomparedtothedepoexhibit       Anadarko
  TREXͲ02032               8/24/2010 MBITestimonyofJesseGagliano               Hearsay;46U.S.C§6308                               HESI
  TREXͲ02687              10/20/2009 EmailfromDarrellHollektoChuckMeloy     Wrongdocumentascomparedtothedepoexhibit       Anadarko
                                      EmailͲFrom:VanLue,JasonTo:
  TREXͲ03181                5/7/2010 Stringfellow,William;White,Robert          Wrongdocumentascomparedtothedepoexhibit       CAMERON

                                      2011Subseaequipmentstatusinpreparation
  TREXͲ03292                4/6/2010 for2011OSS                                 Hearsay                                              Transocean
  TREXͲ03419               2/22/2010 EͲmailfromJamesKent                       Hearsay                                              Transocean
  TREXͲ03468               4/22/2010 SwornStatementofPatrickMorgan            Hearsay                                              Transocean
                                      BPIncidentInvestigationTeamͲNotesof
  TREXͲ04447                7/8/2010 InterviewwithMarkHafle                     Hearsay;Fed.R.Evid.403                           BPParties

                                      June17,2010VerbatimTranscript,House
                                      ofRepresentatives,CommitteeonEnergy
                                      andCommerce,SubcommitteeonOversight
                                      andInvestigations,CommitteeHearingon
  TREXͲ06001               6/17/2010 theDeepwaterHorizonOilSpill               Hearsay                                              BPParties

                                      RedactedMinutesofameetingoftheBoard
                                      ofDirectorsofBPp.l.c.Heldon20thJune
                                      2010at1StJames’sSquare,LondonSW1Y
  TREXͲ06253               6/20/2010 4PD,markedasCONFIDENTIAL                   Hearsay;Fed.R.Evid.403;Rule602;Rule702       BPParties
                                      NationalCommissionontheDeepwater
  TREXͲ06300
  TREX 06300                          H i
                                      Horizonoilspillandoffshoredrilling
                                                il ill d ff h        d illi         Hearsayanddocumentincomplete;Fed.R.Evid.403
                                                                                    H         dd           i   l     F d R E id 403       BP P i
                                                                                                                                          BPParties
  TREXͲ20013                         MBITestimonyofJimmyHarrell                Hearsay;46U.S.C§6308                             Transocean
